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Attorneys for plaintiffs


                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


LANDESK SOFTWARE, INC., a Delaware                        PLAINTIFFS’ STATUS REPORT
Corporation, and CRIMSON
CORPORATION, a Delaware corporation,

        Plaintiffs,
vs.                                                           Case No. 2:16-cv-00400-DN

WAVLINK TECHNOLOGY LTD., a
Delaware corporation,
                                                                   Judge David Nuffer
        Defendant.


        Pursuant to the Court’s Status Report Order (Dkt. 45), plaintiffs LANDesk Software, Inc.

and Crimson Corporation (“plaintiffs”) respond to the Court’s most recent order as follows:

        The Court instructed the parties to file a joint status report by today, July 6, 2021. Despite

multiple reach outs by plaintiffs’ counsel, including on June 25, June 30, and today July 6,

defendant has not responded to plaintiffs and so plaintiffs file this as their report, and not as a joint

status report. In the past, defendants have been responsive to plaintiffs’ counsel.

        As the Court knows, the parties have been negotiating a resolution of this case for an

extended period of time. Those negotiations have included multiple exchanges of detailed

settlement agreements with listing of various marks in various jurisdictions and proposed
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arrangements about how to find a path forward that would avoid confusing the parties’ marks

based upon various restrictions in usage. Plaintiffs understood that both parties believed that they

were very close to settling this matter. And it was plaintiffs’ turn to respond to the latest draft of the

settlement agreement, which plaintiffs were preparing to do when they discovered that defendant

had filed multiple applications worldwide for two new infringing marks this year that were likely

to cause further confusion. Plaintiffs adjusted the draft of the settlement agreement to account for

this development and to provide separation between the parties. Plaintiffs sent this updated

settlement draft to defendant on June 30th but have received no response of any kind.

        Given these developments, plaintiffs can only assume that defendants no longer wish to

settle this matter. Plaintiffs are concerned about the confidence and reliance they placed in

defendant’s representations of its desire and efforts to resolve this matter, as plaintiffs forestalled

pursuit of this case based upon those representations. Consequently, plaintiffs request that this

matter be set for a status conference to establish case deadlines for discovery, dispositive motions,

and pretrial matters. Plaintiffs request this status conference as soon as is convenient for the Court.

Plaintiffs’ counsel is available to appear in person or remotely. Alternatively, if the Court prefers,

plaintiff is happy to propose a scheduling order.

        Dated July 6, 2021.

        Respectfully submitted.
                                                      HOLLAND & HART, LLP

                                                      /s/ James L. Barnett
                                                      James L. Barnett

                                                      Attorneys for plaintiffs

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